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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN THE INTEREST OF C.T.F., J.E.F., AND
R.D.F., CHILDREN

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


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Judicial District Court

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Anderson
County, Texas

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial Court
No. XXX-XX-XXXX

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before Morriss, C.J.,
Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion by Justice Carter








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O P I N I O N

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I.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; BACKGROUND

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In this divorce
and child custody case, Tammie Freeman was served with a petition for divorce
on March 11, 2010.[1]&nbsp; The petition requested that Mark Freeman,
Tammie’s husband, be named sole managing conservator of the couple’s three
children, with Tammie to serve as possessory conservator.&nbsp; Tammie did not respond to the petition for
divorce.&nbsp; Thereafter, on July&nbsp;27,
2010, a petition in intervention was filed by William and Ellene Freeman, the
children’s paternal grandparents (the Freemans). &nbsp;Tammie was not served with citation and a copy
of the petition in intervention.&nbsp; Three
days later, the trial court entered a final decree of divorce, reflecting that
a final divorce hearing was held on that date.&nbsp;
The Freemans were present at the hearing, but neither Tammie nor Mark
attended.&nbsp; The trial court awarded joint
managing conservatorship of the three children to Mark and the Freemans.&nbsp; The Freemans alone were given “the exclusive
right to designate the primary residence of the children.”&nbsp; Tammie was named as possessory
conservator.&nbsp; The final decree awarded
Tammie access to her children only at times mutually agreed to by the Freemans.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
appeal, Tammie contends that because she was neither cited nor served with the
petition in intervention, the final decree of divorce is void.&nbsp; 

II.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ANALYSIS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
parties disagree with respect to whether (1) the Freemans were required to
serve Tammie with citation and a copy of the petition in intervention; (2)
Tammie waived her complaint regarding lack of service; and (3) that portion of
the judgment taken by Mark is valid, even if other portions of the decree are
not.&nbsp; Because the Freemans were required
to serve Tammie with citation and a copy of their petition in intervention,
which complaint was not subject to waiver, we reverse that portion of the
decree awarding managing conservatorship of the children to the Freemans.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Because
she was not served with citation and a copy of the petition in intervention,
Tammie contends the trial court erred in granting a default judgment against
her.&nbsp; The record does not reflect such
service, and the Freemans do not contend service of the petition and citation
in intervention was had.&nbsp; Citing Baker v. Monsanto Co., 111 S.W.3d 158

(Tex. 2003), Tammie contends that the Freemans were required to serve her with
citation.[2]&nbsp; In Baker,
the defendant, Monsanto Company, had not been served with citation by any
plaintiff when the intervenors attempted to serve Monsanto’s counsel.&nbsp; Id.
at 159.&nbsp; The law firm representing
Monsanto expressly stated in a letter that they would not accept service on
Monsanto’s behalf.&nbsp; Plaintiffs subsequently
served citation on Monsanto.&nbsp; Monsanto’s
counsel filed an answer, but only to “the petitions of those plaintiffs who
have served Monsanto.”&nbsp; Id.&nbsp;
The Texas Supreme Court held that Monsanto’s subsequent appearance
relieved the intervenors of serving Monsanto with a new citation.&nbsp; In so holding, the Texas Supreme Court quoted
approvingly:

Citation is necessary when the intervenor asks
affirmative relief against a defendant who has not appeared or a plaintiff who
does not, by any action subsequent to the intervention, appear thereon.
. . . 1 McDonald and Carlson, Texas
Civil Practice § 5:81 at 609 (1992 ed.) (citations omitted).

&nbsp;

Id. at 160 (emphasis
added); see also Sw. Constr. Receivables,
Ltd., 162 S.W.3d at 866 (defendant’s actions subsequent to intervention
made issuance of new citation unnecessary).&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Here,
Tammie was served with the original petition for divorce, but did not enter an
appearance.&nbsp; The petition in intervention
sought affirmative relief against Tammie in the form of a request for managing
conservatorship of her children, alleging that naming Tammie as a joint
managing conservator of the children would not be in their best interests and
would “significantly impair the children’s physical health or emotional development.”&nbsp; Tammie did not enter an appearance after the
petition in intervention was filed.&nbsp;
Accordingly, the Freemans were required to serve Tammie with citation
and a copy of their petition in intervention.&nbsp;
This they did not do.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
Freemans contend that Tammie failed to preserve any complaint of defective
service of the petition in intervention by failing to make a timely request,
objection, or motion before the trial court to preserve error for appeal in
accordance with Rule 33.1 of the Texas Rules of Civil Procedure.&nbsp; In Wilson
v. Dunn, 800 S.W.2d 833, 837 (Tex. 1990), the Texas Supreme Court held that
although the defendant filed a motion for new trial that did not complain of
the defective service, he could properly raise the issue on appeal.[3]
&nbsp;Defective service can be raised for the
first time on appeal. &nbsp;Id.; see also Benefit Planners, L.L.P. v. RenCare, Ltd., 81 S.W.3d 855, 857–58
(Tex. App.––San Antonio 2002, pet. denied) (holding defective service can be
raised for first time on appeal); Arredondo v. State, 844 S.W.2d 869, 871 (Tex. App.––Texarkana
1992, no writ) (recognizing “[i]t is well settled that . . . a failure of
service can be raised for the first time on appeal”).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In
spite of this general rule, the Freemans maintain that the issue of service was
waived because the trial court had jurisdiction over Tammie.&nbsp; Here, unlike cases in which a trial court
never acquired jurisdiction over the defendant, the trial court acquired
jurisdiction over Tammie as a result of her default to the original petition
for divorce filed and served by Mark.&nbsp; We
do not find this distinction to be determinative of the waiver issue.&nbsp; Mark filed a divorce petition; because that
petition was properly served, the trial court had authority to enter the final
judgment of divorce in accordance with the petition and to decide child custody
issues as between Tammie and Mark.&nbsp; The
petition in intervention was brought by completely different parties—the
Freemans.&nbsp; Moreover, the petition sought
relief unique to the Freemans—that they, as grandparents, be awarded managing
conservatorship of the children, together with their son Mark.&nbsp; In addition, the petition requested that the
Freemans be granted the sole authority to determine the residency of the
children.&nbsp; Because Tammie was never
served with the petition in intervention, the trial court was without authority
to act on the unique issues raised in the petition.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Tammie
maintains the entire judgment is void based upon a lack of due process in the
proceeding to determine the Freemans’ managing conservatorship without notice
to her.&nbsp; She therefore seeks reversal of
the judgment in total.&nbsp; Because the
judgment is valid as to all issues between Mark and Tammie, including
conservatorship of the children as between those parties only, we decline to
reverse the entire judgment. &nbsp;Rule
44.1(b) of the Texas Rules of Appellate Procedure allows us to reverse only
that portion of the judgment awarding managing conservatorship to the Freemans.
&nbsp;See Tex.
R. App. P. 44.1(b).[4]

III.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CONCLUSION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; For
the reasons stated above, we hold the trial court was without authority to act
on the Freemans’ petition in intervention in the absence of service of process
on Tammie.&nbsp; Accordingly, we reverse that
portion of the trial court’s judgment and remand this cause to the trial court
for further proceedings. &nbsp;We affirm the
judgment in all other respects.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jack
Carter

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; March 8, 2011

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; March 9, 2011











[1]Originally
appealed to the Twelfth Court of Appeals, this case was transferred to this
Court by the Texas Supreme Court pursuant to its docket equalization
efforts.&nbsp; See Tex. Gov’t Code Ann.
§ 73.001 (Vernon 2005).&nbsp; We are unaware
of any conflict between precedent of the Twelfth Court of Appeals and that of
this Court on any relevant issue.&nbsp; See Tex.
R. App. P. 41.3.





[2]Tammie
also relies on In re E.A., 287 S.W.3d
1 (Tex. 2009), for the proposition that new service is required to proceed to a
valid judgment when an amended petition seeking a more onerous judgment or one
which adds a new cause of action is filed.&nbsp;
Tammie reasons that the filing of a petition in intervention requires no
less due process.&nbsp; As aptly pointed out
by the Freemans, E.A. holds that a
plaintiff who amends his or her petition may serve the defendant by complying
with the filing and service requirements of Rules 21 and 21a of the Texas Rules
of Civil Procedure without regard to whether the amendment seeks a more onerous
judgment. &nbsp;Id. at 4; see also Sw. Constr. Receivables, Ltd. v. Regions Bank, 162 S.W.3d
859, 865 (Tex. App.––Texarkana 2005, pet. denied).





[3]Rule
324 of the Texas Rules of Civil Procedure—addressing prerequisites of appeal—does
not require that a motion for new trial raise issues of defective service of
process for preservation of error.&nbsp; Wilson, 800 S.W.2d at 837.&nbsp; 





[4]This
Rule provides:

&nbsp;

(b) Error Affecting Only Part of
Case. &nbsp;If the error affects part of,
but not all, the matter in controversy and that part is separable without
unfairness to the parties, the judgment must be reversed and a new trial
ordered only as to the part affected by the error. &nbsp;The court may not order a separate trial
solely on unliquidated damages if liability is contested.

&nbsp;

Tex. R. App. P.
44.1(b).







